Entity Information
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                                       NYS Department of State
                                             Division of Corporations
                                                 Entity Information
                     The information contained in this database is current through May 3, 2013.


                     Selected Entity Name: CHRISTIAN CONGREGATION OF JEHOVAH'S WITNESSES
                                                Selected Entity Status Information
                        Current Entity Name: CHRISTIAN CONGREGATION OF JEHOVAH'S WITNESSES
                                   DOS ID #: 2544464
                      Initial DOS Filing Date: AUGUST 21, 2000
                                      County: PUTNAM
                                 Jurisdiction: NEW YORK
                                 Entity Type: DOMESTIC NOT-FOR-PROFIT CORPORATION
                       Current Entity Status: ACTIVE

                                              Selected Entity Address Information
                       DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
                       CHRISTIAN CONGREGATION OF JEHOVAH'S WITNESSES
                       100 WATCHTOWER DRIVE
                       PATTERSON, NEW YORK, 12563-9204
                       Registered Agent
                       NONE


                                          This office does not record information regarding the
                                       names and addresses of officers, shareholders or directors
                                       of nonprofessional corporations except the chief executive
                                            officer, if provided, which would be listed above.
                                        Professional corporations must include the name(s) and
                                             address(es) of the initial officers, directors, and
                                          shareholders in the initial certificate of incorporation,
                                      however this information is not recorded and only available
                                                          by viewing the certificate.


                       *Stock Information                       Name History
   # of Shares        Type of Stock          $ Value p Filing Date        Name Type Entity Name
                No Information Available                                                  CHRISTIAN
                                                       AUG 21, 2000 Actual                CONGREGATION OF
  *Stock information is applicable to domestic busines                                    JEHOVAH'S WITNESSES
  corporations.
                                                       A Fictitious name must be used when the Actual name of a
                                                       foreign entity is unavailable for use in New York State. The
                                                       entity must use the fictitious name when conducting its
                                                       activities or business in New York State.


http://appext20.dos.ny.gov/...61%74%69%6F%6E&p_name_type=%41&p_search_type=%42%45%47%49%4E%53&p_srch_results_page=0[5/6/2013 2:47:57 AM]
Entity Information
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                          NOTE: New York State does not issue organizational identification numbers.

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